Case: 1:17-md-02804-DAP Doc #: 3555-20 Filed: 11/13/20 1 of 7. PageID #: 505698




                      EXHIBIT 19
Case: 1:17-md-02804-DAP Doc #: 3555-20 Filed: 11/13/20 2 of 7. PageID #: 505699
Case: 1:17-md-02804-DAP Doc #: 3555-20 Filed: 11/13/20 3 of 7. PageID #: 505700
Case: 1:17-md-02804-DAP Doc #: 3555-20 Filed: 11/13/20 4 of 7. PageID #: 505701
Case: 1:17-md-02804-DAP Doc #: 3555-20 Filed: 11/13/20 5 of 7. PageID #: 505702
Case: 1:17-md-02804-DAP Doc #: 3555-20 Filed: 11/13/20 6 of 7. PageID #: 505703
Case: 1:17-md-02804-DAP Doc #: 3555-20 Filed: 11/13/20 7 of 7. PageID #: 505704
